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Author see by Order of the Court, Clvil Action No, 10 md 2178 Rec. Doc, 982

(Coptge:

rder having also bean filed in Civi) Actions No. 10-8888 and 10-2774)

mL 2178 een aT _ gc Pena HE or JUDGE CAAL BARBIER
By submitting thi nt, lam asserting a cla Complaint and Petition of Triton Asset Leasing Gmbh, et

al, No. 10-2771; adopt and incorporate the Master Answer [Rac, Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene Into, join and otherwise adopt the Master Complaint
{Rec, Doc, 879} for private economic losses ("Bt Bundle”) fited In MDL No. 2179 (10 md 2179); and/or Intarvane
into, Join and otherwise adept the Master Comptaint [Rec. Doc. 881) for post-explosion injuries ("BS Bundle”)
filed in MDL No, 2179 (10 md 2179).

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Claim filed with BP? Yes 0 ‘NO Re Clem Fed wih Gccr7?; YES [J NO J!
tt yes, BP Claim Nao.: If yes, Giaknant identification No.
taim Type (Please check. all that apply): :
Damage or destruction to real er personal proparty Faasr of Future injury anc/or Medical Monitoring
Eaminga/Prof Loss Loes of Subslatance Use of Natural Resources
Personal Injury/Death Removal and/or clean-up costs
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1 This forms should be Aled with the US. District Court for the Eastern District of Laulstana in New Orieans, Loulslans tn Civil Action No. 40-8886. While this Direct
Filing Short Form l¢ to be filad In CA No, 40-8888, by prlor order of the Court, {Rec. Doe, 246, CA. No, 10-2771 and Rec. Doc, 982 in MDL 2179), the fitng of thu form
ia CA. NO. 10-8886 shall be deemed te be stmrultaneousty filed In GA, 10-2773 and MOM, 2179, Plaintiff Usison Counsel, after being notified electronically by the Gerk
of Court of the filing of this Short form, shall promptly servo this form through the tenis Nexis pervice system on Defense Lalsan.

The filing of this Direct Filing Short Form ehatl aiga serve In ileu of ihe requirement of « Plaintif to the a Plaintt? Profits Porm.

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Case 2:10-md-02179-CJB-SS Document 983-3 Filed 01/12/11 Page 2 of 3

‘Brief Description:

4, For eamings/profit loss, property damage and loss of pubsietenca use clsims, describe the nature of the injury. For claims
involving real estate/property, Include the property location, type of property (reskdenilai/commercial), and whether physical
damage occurred, For claims relating to fishing of any type, include the type and location of fishing grounda at issue.

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'¢. For personat injury claims, describe the injury. how and when it was sustained, and identify all health care providers
employers 2006 to present and complete authorization forms for each. wy, inv me oN

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A zi Se :
3. For post-explosion claims related to wal, include your role in the ¢ pin-up ciivities, the ndme of your

employer. and where you were working.
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« Case 2:10-md-02179-CJB-SS Document 983-3 Filed 01/12/11 Page 3 of 3

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hink apply to you and your claims:

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x7. Gommercial fishermen, shrimper, crabber, or oysterman, of tha owner and eparator of a businons lnvatving fishing, enrimping,
crabbing or oyslaring,

Santeod processor, distributor, retall and seafood marhui, of fastaurant owner and operaloy, oF an amployee thereof.

Recreetionsl buginace owner, operator or worker, including # recreational fishing business, commercial quide service, or charter
fishing business wha eam thell living through the use of the Gulf of Mexico.

Commercial business, business owner, operator or worker, including commercial divers, offanofe olifistd service, repeal and
supply, real estate agents, and supply companias, of ert employes (hareof,

Recreational aport fishermen, recreational diver, beachgoer, of recreations! beater.
Plant and dock worker, Including commercial seafood plant warksr, longshoreman. of ferry operator.

Owner, lesvor, or losses of real property alleged to be damaged, harmed or impacted, physically or economically, including
lasseet of ayster beds.

Hotel owner and operator, vacation rental owner and agent, cr af Mose whe warn thar Uiving from the tourlam Industry,
Bank, financial institution, or retail business that suffere, looses ag o raeutt of the spl,

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Boat captain or crow Involved In the Vessels of Opportunity program.
Worker involved in decontaminating vessels thal Cama info contact wilh oll and/or chemical dispersanta.

Veneol captain of crew who wae not Involved in the Vazsals of Oppartunity program but who ware exposed to harmful chamicale,
odors aod emissions during post-explosion Clean-up activites.

Claan-up workor er boach parsonnel invghved In desr-up activities along shorelines and Intercoastal and intertidal zones.

arn)

Resident whe lives or works In close proximity to coastal waters.

payment on the claim, subject to such information belng tread as "Confidential Access Restricted” under the Order
Confidentiality (Pre-Yrial Order No, 11), and subject to full copies of same being made available to both

(or his attorney if appli

Clalmant or Attorney Signature

crm niel

Prt Name

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The filing of this Direct Fillng Strort Form shall alec sorve in fev of the requirement of » Plaintiff to Mle a Plaintiff Profile Form.

